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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

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         BRYCE CARRASCO,                        :             Civil Action
                      Plaintiff,                :
    v.                                          :             Case No. 21-532 (SAG)

M&T BANK,                                       :
         Defendant.                             :
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MOTION IN OPPOSITION TO M&T’S MOTION FOR LEAVE

This is the United States District Court, not the circus. Brian will be looking for employment
elsewhere soon so have no worries he may indeed be headed to the circus, and I wish him the
best of luck in his future endeavors in life, and that he find a moral compass along the way at
some point.

There is no good faith basis for M&T taking leave to file an answer in an attempt to bolster its
already defunct and defiled cross-motion for summary judgment, which should renamed as the
“career ender” for Brian Moffet in the legal industry. Plaintiff will be egregiously prejudiced if
this court allows M&T to take leave and just forge more documents and make more bad faith
filings to cause more unnecessary delay.

Brian Moffet offers no justification in his motion for leave as to why he should be permitted to
file additional documents in bad faith only to the detriment of the plaintiff. the only explanation
offered by Moffet is that “M&T prepared its Answer to the First Amended Complaint and
believed it was timely filed.” While it is unclear as to the legal basis of this explanation, what is
clear is Brian Moffet needs to be disbarred forthwith.

I trust that this court will reject the sad attempt by Mr. Moffet to doctor additional filings on a
federal court record, as the counts of wire fraud accumulate in support of a nice recovery against
Miles & Stockbridge under Civil Rico.

Needless to say, this court should reject the pathetic attempt to fix his remains of Brian’s
foregone career as a lawyer by filing an answer which was due 77 days ago.

For the foregoing reasons, Brian should stop embarrassing himself.

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I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on September 10, 2021. /s/Bryce Carrasco.
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